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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-04954-DDP-GJS                                          Date     November 23, 2020


 Title             Duc Chung et al v. Carnival Corporation et al




 Present: The Honorable          DEAN D. PREGERSON, UNITED STATES DISTRICT JUDGE
                      Patricia Gomez                                          Maria Bustillos
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Elizabeth Cabraser                                       David Weiner
                         Mark Chalos
                     Christopher Coleman
                       Gretchen Nelson


 Proceedings:                 Telephone Motion to Dismiss Case [36]
                              Telephone Motion to Dismiss Case [37]


        Case called; appearances made. Court and counsel confer as reflected on the record. The matter
is taken under submission.




                                                                                                  :     31
                                                               Initials of Preparer   PG




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